Case 2:18-cv-00159-RAJ-RJK Document 19 Filed 09/07/18 Page 1 of 2 PageID# 367


                                                                                        FILED
                              UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGIlS
                                           Norfolk Division

                                                                              Cl;:Hn. U 5 i;i£7r,lCT COURT
                                                                                              •<   .'A
 JOHN HUGHES, III, #11998-007,

                        Petitioner,

 V.                                                                    ACTION NO.        2:18cvI59


 J. RAY ORMOND, Warden,
 and
 UNITED STATES PAROLE
 COMMISSION,

                        Respondents.


                                           FINAL ORDER


        This matter was initiated by a pro so petition for a writ of habeas corpus pursuant to 28

 U.S.C.§2241. ECFNo. 1. Petitioner John Hughes, III, a District of Columbia prisoner housed

 in the Federal Correctional Institution in Petersburg, Virginia, alleges the United States Parole

 Commission has violated his constitutional rights by denying him parole. Id.

        The petition was referred to a United States Magistrate Judge for report and

 recommendation pursuant to the provisions of 28 U.S.C. § 636(b)(1)(B) and (C) and Local Civil

 Rule 72 of the Rules of the United States District Court for the Eastern District of Virginia.    In the

 Magistrate Judge's Report and Recommendation filed July 31, 2018, the Court found that the

 USPC did not act unconstitutionally by denying parole, and recommended that Hughes's petition

 be denied and dismissed with prejudice.

        Hughes filed objections to the Report and Recommendation on August 13, 2018. ECF

No. 17. The Court, having reviewed the record and examined the objections filed by Hughes to

the Report and Recommendation, and having made de nova findings with respect to the portions
Case 2:18-cv-00159-RAJ-RJK Document 19 Filed 09/07/18 Page 2 of 2 PageID# 368



objected to, does hereby adopt and approve the findings and recommendations set forth in the

Report and Recommendation. It is, therefore, ORDERED that the petition for a writ of habeas

corpus is DENIED and DISMISSED with prejudice.

       Hughes may appeal from the Judgment entered pursuant to this Final Order by filing a

notice of appeal with the Clerk of this Court, United States Courthouse, 600 Granby Street,

Norfolk, Virginia 23510, within sixty days from the date of entry of such Judgment.

       The Clerk shall mail a copy of this Final Order to Hughes and to counsel of record for

Respondent.




                                                Raymond A."^c^n
                                                United States District Judge
                                                   Raymond A. Jackson
                                            UNITED STATES DISTRICT JUDGE


Norfolk, Virginia
September "J ,2018
